Case 2:04-cr-20104-tmp Document 47 Filed 07/21/05 Page 1 of 2 Page|D 32

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

UNITED STATES OF AMERICA

-vs_

 

DERRICK JONES

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled ease, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Aet (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

' Probation/Supervised Release Violation

51-
DONE and ORDERED in 167 Nolth Main, Memphis, this ”? l day of July, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Off'lee

Assistant Federal Public Det`ender
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DERRICK JONES \ ee:j;{‘°§`§
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Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
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.l Patten Brown

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Kristen Coyne

US DEPARTl\/[ENT OF .TUSTICE
5722 Integrity Dr.

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Honorable Tu Pham
US DISTRICT COURT

